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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


KARLTON A. MAYDWELL,

          Plaintiff,

v.                                                    Case No. 3:19-cv-51-BT

CIARA FINANCIAL SERVICES, INC.,
d/b/a CLAY COOLEY AUTO GROUP,

          Defendant.


                               SCHEDULING ORDER

       The parties to the above-captioned civil matter have consented to proceed
before United States Magistrate Judge Rebecca Rutherford under 28 U.S.C.
§ 636(c). The Court enters this Pretrial Scheduling Order in accordance with Fed.
R. Civ. P. 16(b) and 26, the local civil rules of the District Court (except as modified
herein), and the District Court’s Civil Justice Expense and Delay Reduction Plan.
Unless otherwise ordered or specified herein, all limitations and requirements of
the Federal Rules of Civil Procedure, as amended, must be observed.

      All parties to this proceeding must adhere to the “standards of litigation
conduct . . . observed in civil actions litigated in the Northern District of Texas.”
Dondi Props. Corp. v. Commerce Savs. & Loan Ass’n, 121 F.R.D. 284, 286, 288
(N.D. Tex. 1988) (en banc) (per curiam) (“Lawyers should treat each other, the
opposing party, the court, and members of the court staff with courtesy and civility
and conduct themselves in a professional manner at all times.”).

     1.      Amendment of Pleadings and Joinder of Parties: Amended
             pleadings, including amendments joining additional parties, must be
             filed by July 8, 2019. Motions for leave to amend need not be filed so
             long as the amendment is filed within the deadline set in this paragraph.
             After July 8, 2019, a party may amend its pleadings only with leave of
             Court, upon a showing of good cause.

                 a. Redline Requirement: The amending party shall attach as an
                    exhibit to the pleading a redlined version of the prior pleading.

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         b. Response to Amended Pleading: The deadline to file a
            response to an amended pleading is 21 days after the date the
            amended pleading is served, notwithstanding expiration of the
            amended pleading deadline.

2.    Completion of Discovery: All fact and expert discovery must be
      initiated in time to be completed by December 4, 2019. This includes
      the use of subpoenas to obtain documents from third parties under Fed.
      R. Civ. P. 45, and the supplementation of discovery responses as required
      by Fed. R. Civ. P. 26(e). The parties may agree to extend the discovery
      deadline, provided (1) the extension does not affect the dispositive-
      motion deadline established by this Pretrial Scheduling Order, and (2)
      the parties give prompt written notice of the extension to the Court.

      A party with the burden of proof on a claim or defense must designate
      expert witnesses by September 3, 2019. A party without the burden of
      proof on an issue, but who wishes to utilize an expert witness, must
      designate expert witnesses by October 4, 2019. Parties must designate
      rebuttal experts by November 1, 2019. The designation of experts must
      comply with the provisions of Fed. R. Civ. P. 26(a)(2).

3.    Mediation: The parties must complete mediation by December 6,
      2019. At the conclusion of mediation, counsel must, within three
      business days, file a joint report notifying the Court of the results of
      mediation and, if the case did not settle, the status of settlement
      negotiations.

4.    Dispositive Motions: All motions that would dispose of all or any part
      of this case, including motions for summary judgment, must be filed by
      January 15, 2020. Objections to the qualifications or competency of
      experts, sometimes referred to as Daubert motions, will be considered as
      dispositive motions and must be filed by the dipositive-motion deadline.
      The deadline for filing dispositive motions will not be modified except
      upon written motion for good cause shown.

5.    Other Motion Practice:

         a. The Court encourages the informal resolution of discovery
            disputes. To this end, the parties are directed to schedule a
            telephone conference with the Court before filing any discovery
            motion.


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           b. The Court is aware of a trend today in which fewer cases go to trial,
              and in which there are generally fewer speaking or “stand-up”
              opportunities in court, particularly for young lawyers (i.e., lawyers
              practicing for less than seven years). The Court encourages
              litigants to be mindful of opportunities for young lawyers to
              conduct hearings before the Court, particularly for motions where
              the young lawyer drafted or contributed significantly to the
              underlying motion or response. In those instances where the Court
              is inclined to rule on the papers, a representation that the
              argument would be handled by a young lawyer will weigh in favor
              of holding a hearing. The Court believes it is crucial to provide
              substantive speaking opportunities to young lawyers, and that the
              benefits of doing so will accrue to young lawyers, to clients, and to
              the profession generally. Thus, the Court encourages all lawyers
              practicing before it to keep this goal in mind.

6.      Trial: This case will be set for a JURY TRIAL to begin June 22, 2020.

7.      Courtesy Copies: The Court does not require courtesy copies of any
        pleadings, motions, or other documents filed on the docket.

8.      Questions:

           a. Questions relating to this Scheduling Order should be directed to
              the law clerk, at (214) 753-2411.

           b. Questions concerning electronic filing procedures should be
              directed to the ECF Help Desk at (866) 243-2866.

     SO ORDERED.

     June 11, 2019.


                                     REBECCA RUTHERFORD
                                     UNITED STATES MAGISTRATE JUDGE




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